Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 1 of 16 PAGEID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 LYNNETT MYERS,
  individually and on behalf of              Case No. 2:15-cv-2956
  all others similarly situated,
 32535 Ross Road                             Judge
 Portland, Ohio 45770
                                             Magistrate Judge
 And

 CAROL BUTLER,
   individually and on behalf of
  all others similarly situated,
 188 Paulhurst Plaza
 Parkersburg, West Virginia 26101

 And

 ARVA LOWTHER,
   individually and on behalf of
   all others similarly situated,
 3460 Market Street
 Stockport, Ohio 43787

                 Plaintiffs,

        - vs -

 MEMORIAL HEALTH SYSTEM
 MARIETTA MEMORIAL HOSPITAL                  CLASS ACTION COMPLAINT
 By Serving Its Registered Agent                WITH JURY DEMAND
  Paul G. Westbrock                             ENDORSED HEREON
  401 Matthew Street
  Marietta, Ohio 45750

                 Defendant.

                     COLLECTIVE ACTION COMPLAINT FOR
                 DECLARATORY JUDGMENT AND COMPENSATION
                         UNDER 29 U.S.C. §§ 201, et. seq.
                                    AND
                         CLASS ACTION COMPLAINT
                 UNDER OHIO REVISED CODE CHAPTER 4111, et seq.
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 2 of 16 PAGEID #: 2




        Plaintiffs, on behalf of themselves and all similarly situated individuals, bring this

 collective and class action against Defendant, Marietta Memorial Hospital (“Marietta”)

 for monetary, declaratory, and injunctive relief due to their willful failure to compensate

 employees with proper pay in violation of the federal Fair Labor Standards Act of 1938

 (“FLSA”), 29 U.S.C. §§ 201, et seq., and the Ohio Minimum Fair Wage Standards Act

 (“OMFWSA”), R.C. 4111.01, et seq., committed by intentionally failing to pay full and

 accurate full- and part-time, non-exempt employees for each hour worked in accordance

 with federal and Ohio law. In support of the claims stated above, Plaintiffs allege the

 following:

                                    INTRODUCTION

        1.     This case implicates the longstanding policy of Marietta Memorial

 Hospital, an affiliate of the Memorial Health System, which fails to properly compensate

 non-exempt employees for work performed.

        2.      Employers are not required to pay employees for meal periods if the meal

 period is completely uninterrupted. However, Defendant automatically deducted 30

 minutes from each shift worked by its employees, including shifts worked by Plaintiffs,

 regardless of whether the employees actually took the meal break or attempted to take a

 meal break, only to be interrupted due to the demands of the job. In fact, for employees

 responsible for direct patient care, Defendant instituted policies that created continuous

 interruptions during the majority of their meal breaks. As such, Defendant denied wages

 for on-duty meal periods under an illegal pay policy and practice. Under this policy, non-

 exempt employees involved in direct patient care were not free from work during meal

 periods and were denied pay for those on-duty meal periods. Defendant required and/or



                                            -2-
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 3 of 16 PAGEID #: 3




 permitted Plaintiffs and other similarly situated employees responsible for direct patient

 care to work in excess of forty hours per work week, but Defendant refused to

 compensate them for interrupted and/or missed meal breaks. This practice violates the

 Fair Labor Standards Act (“FLSA”).

        3.     With respect to the on-duty meal break violation, Plaintiffs Myers, Butler,

 and Lowther are similarly situated to the following class of employees:

        All of Defendant’s current and former hourly employees who were
        responsible for direct patient care and were subject to Defendant’s
        automatic meal deduction policy during the three years before this
        Complaint was filed up to the present.

 Defendant willfully, deliberately, and voluntarily failed to pay Plaintiffs and Class

 Members for all hours worked including but not limited to those hours worked in excess

 of forty hours per week. Defendant violated the FLSA by willfully suffering or permitting

 Plaintiffs and Class Members to perform work and/or remain on duty during their meal

 breaks, but subjecting them to an automatic 30-minute meal break deduction.

        4.     Defendant’s conduct violates the FLSA because of the mandate that non-

 exempt employees, such as Plaintiffs and the Class Members, be paid for all hours

 worked including but not limited to those hours worked in excess of forty hours per week

 at one and one half their regular rate of pay within a single week. See 29 U.S.C. § 207(a).

        5.     Therefore, Plaintiffs file this action to recover on behalf of themselves and

 Class Members all unpaid wages and other damages owed to them under the FLSA,

 individually and as a 29 U.S.C. § 216(b) collective action, in order to remedy the

 extensive and sweeping violations of the wage and hour provisions which the Defendant

 has integrated into its time tracking and payroll policies and which have deprived

 Plaintiffs and Class Members of their lawfully-earned wages.

                                            -3-
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 4 of 16 PAGEID #: 4




                                          PARTIES

        6.        Plaintiff, Lynnett Myers, is a citizen of the State of Ohio who was

 employed as a nurse by Defendant in Marietta, Ohio during the statutory period covered

 by this Complaint.

        7.        Plaintiff, Carol Butler, is a citizen of the State of West Virginia who was

 employed as a nurse by Defendant in Marietta, Ohio during the statutory period covered

 by this Complaint.

        8.        Plaintiff, Arva Lowther, is a citizen of the State of Ohio who was

 employed as a nurse by Defendant in Marietta, Ohio during the statutory period covered

 by this Complaint.

        9.        Plaintiffs Lynnett Myers, Carol Butler, and Arva Lowther’s “Consent to

 Sue” are attached to this Complaint as Exhibit A.

        10.       Defendant, Marietta Memorial Hospital, is a non-profit corporation

 organized under the laws of the State of Ohio and has conducted business throughout the

 State of Ohio.

        11.       Defendant’s principal place of business is located at 401 Matthew Street,

 Marietta, Ohio 45750 and regularly conducts business within this judicial circuit.

                               JURISDICTION AND VENUE

        12.       This Court has subject matter jurisdiction over Plaintiffs’ FLSA claims

 pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1337(a), and 29 U.S.C. §216(b).

        13.       This Court has supplemental jurisdiction over Plaintiffs’ OMFWSA

 claims pursuant to 28 U.S.C. § 1367 for those claims authorized under Ohio Revised

 Code Chapter 4111 (R.C. 4111.03 and 4111.10).



                                             -4-
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 5 of 16 PAGEID #: 5




         14.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and

 S.D. Ohio Civ. R. 82.1(b) because the acts giving rise to the claims of the Plaintiffs

 occurred within this judicial district, and Defendant regularly conducts business in and

 has engaged and continues to engage in the wrongful conduct alleged herein – and thus,

 are subject to personal jurisdiction within – this judicial district.


                                FACTUAL ALLEGATIONS

         15.     Three of the most basic protections afforded by the FLSA are the

 entitlement of employees:

                 (1)     to be paid for all hours worked;

                 (2)     to be paid a minimum wage; and

                 (3)     to be paid premium overtime compensation for all hours
                         worked in excess of forty hours per week, unless such
                         employees are properly shown to be exempt from such
                         protections.

         16.     In violation of these basic protections, Defendant has had a payroll policy

 of automatically deducting 30 minutes per shift worked for a so-called meal break for

 certain hourly-paid workers.

         17.     This policy applies to all hourly-paid, non-exempt employees who are

 responsible for direct patient care.

         18.     Under Defendant’s policy, Defendant instructs its employees to clock in at

 the beginning and clock out at the end of their shifts; however, Defendant does not

 require its employees to clock out at the beginning of their meal period and/or clock back

 in at the end of their meal period.

         19.     Instead, under this payroll policy, Defendant has programmed its time

 tracking system to automatically deduct 30 minutes per shift worked for the employees

                                               -5-
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 6 of 16 PAGEID #: 6




 subject to this policy. This is the default time tracking rule for Plaintiffs and the Class

 Members.

         20.    This payroll policy applies to employees responsible for direct patient care

 including, but not limited to, nurses, nursing assistants, patient care assistants, and patient

 care associates.

        21.     In violation of these basic protections, Plaintiffs and the members of the

 Class were not lawfully paid for all hours worked, including, but not limited to, full and

 accurate overtime compensation for all hours worked above and/or beyond forty hours in

 each work week.

        22.     Marietta is the former employer of Plaintiffs and the members of the Class

 within the meaning of the FLSA.

        23.     At all times material to this Complaint, upon information and belief,

 Marietta grossed more than $500,000 in all relevant years.

        24.     The reporting of hours worked by Marietta employees was uniformly and

 routinely manipulated by the employer to avoid reporting the accurate amount of time

 worked by its employees. Plaintiffs and the members of the Class were routinely not

 fully and accurately paid for time worked, including, but not limited to, overtime.

        25.     As a result of these timekeeping practices, the records of hours worked for

 all employees of Defendant do not accurately reflect the total hours worked by Plaintiffs

 and the members of the Class. Furthermore, the timekeeping records kept by Defendant

 do not accurately reflect the correct rate of pay that Plaintiffs and the members of the

 Class should have been paid for hours worked in excess of forty hours per week.




                                              -6-
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 7 of 16 PAGEID #: 7




        26.     At this stage of litigation, Plaintiffs and the members of the Class are

 unable to state the exact amount of damages suffered by each of the members of the

 Class, but Plaintiffs and the members of the Class believe that such information will

 become available during the course of discovery. However, when an employer fails to

 keep complete and accurate time records, employees may establish the hours worked

 solely by their testimony and the burden of overcoming such testimony shifts to the

 employer.


                       COLLECTIVE ACTION ALLEGATIONS


        27.     Plaintiffs bring this First Cause of Action on behalf of the Class as a

 collective action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 207 and 216(b)

 (hereinafter “the Collective Class”).

        28.     The claims under the Fair Labor Standards Act may be pursued by those

 similarly situated employees who opt-in to this case pursuant to 29 U.S.C. § 216(b).

        29.     The members of the Collective Class are so numerous that joinder of all

 members is impracticable. While the exact number of the members of the Collective

 Action is unknown to Plaintiffs at this time, and can only be ascertained through

 appropriate discovery, Plaintiffs believe there are numerous other individuals who are

 potential members of the Collective Class.

        30.     The claims of the Plaintiffs are typical of the claims of the Collective

 Class. Plaintiffs and the members of the Class work or have worked for Defendant and

 were subject to the same operational, compensation, and timekeeping policies and




                                              -7-
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 8 of 16 PAGEID #: 8




 practices, including not being paid fully and accurately for all hours worked including but

 not limited to these hours in excess of forty hours per week.

        31.     Common questions of law and fact exist as to all members of the

 Collective Class and predominate over any questions only affecting any member

 individually. The common questions of law and fact include:

                (1)     whether Defendant failed to pay Plaintiffs and the members
                        of the Class for so-called meal breaks that Plaintiffs were
                        consistently forced to work through due to the demands of
                        the job;

                (2)     whether Defendant failed to pay Plaintiffs and the members
                        of the Class full and accurate overtime compensation due to
                        them for all hours worked in excess of forty hours per week
                        at the correct rate at the time the hours in excess of 40 per
                        week were performed;

                (3)     the correct statutes of limitation for Plaintiffs’ claims and
                        for the claims of the members of the Class;

                (4)     whether Plaintiffs and the members of the Class are entitled
                        to damages, including, but not limited to, liquidated
                        damages, and the measure of damages; and

                (5)     whether Defendant is liable for attorneys’ fees and costs.

        32.     Plaintiffs will fairly and adequately protect the interests of the Collective

 Class as their interests are aligned with those of the members of the Collective Class.

 Plaintiffs have no interests adverse to the class, and Plaintiffs have retained competent

 counsel who is experienced in class action litigation.

        33.     The collective action mechanism is superior to the other available methods

 for a fair and efficient adjudication of the dispute at bar. The damages suffered by

 individual members of the Collective Class are relatively small when compared to the




                                             -8-
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 9 of 16 PAGEID #: 9




 expense and burden of litigation, making it virtually impossible for the members of the

 Class to individually seek redress for the wrongs done to them.

        34.     Plaintiffs and the members of the Collective Class have suffered and will

 continue to suffer irreparable damage from the unlawful policies and practices

 implemented by Defendant.


                            CLASS ACTION ALLEGATIONS


        35.     Plaintiffs bring their Fourth Cause of Action pursuant to Rule 23 of the

 Federal Rules of Civil Procedure on behalf of all non-exempt persons employed by

 Defendant in the State of Ohio during the three year period immediately prior to the filing

 of this Complaint.    The claims brought pursuant to the Ohio Minimum Fair Wage

 Standards Act, R.C. 4111.01, et seq., may be pursued by means of a Class Action

 (hereinafter referred to as “the Ohio Class”).

        36.     All such persons employed by Defendant within the State of Ohio,

 including Plaintiffs, are readily ascertainable. The number and identity of the Ohio Class

 members are determinable from the Defendant’s employment records.                 The hours

 assigned and worked, the positions held, and the rates of pay for each Ohio Class member

 are also determinable from Defendant’s records.         For purposes of notice and other

 purposes related to this action, their names and addresses are readily available from

 Defendant. Notice can be provided by any means permissible under Fed.R.Civ.P. 23.

        37.     The proposed Ohio Class is so numerous that joinder of all members is

 impracticable, and the disposition of their claims as a class will benefit the parties and the

 Court. Although the precise number of such persons is currently unknown to Plaintiff,



                                             -9-
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 10 of 16 PAGEID #: 10




  the precise number of such persons and the facts on which the calculation of that number

  are based are presently within the sole control of Defendant, and, upon information and

  belief, there are hundreds of Ohio Class members.

         38.     Plaintiffs’ claims are typical of those claims which could be alleged by

  any member of the Ohio Class, and the relief sought is typical of the relief which will be

  sought by each member of the Ohio Class if that member were to file a separate action.

  All the Ohio Class members were subject to the same corporate practices of Defendant,

  as alleged herein, including the failure to pay full and accurate wages owed for each hour

  of work including but not limited to those hours worked in excess of forty hours per

  week. Defendant’s company-wide policies and practices affected all Ohio Class members

  similarly, and Defendant benefited from the same type of unfair and wrongful act as to

  each Ohio Class member. Plaintiffs and the other Ohio Class members sustained similar

  losses, injuries, and damages arising from the same unlawful policies, practices, and

  procedures.

         39.     Plaintiffs are able to fairly and adequately protect the interests of the Ohio

  Class and have no interests antagonistic to the Ohio Class. Plaintiffs are represented by

  attorneys who are experienced and competent in both class action litigation and

  employment litigation and have previously represented Plaintiffs in wage and hour cases.

         40.     A class action is superior to other available methods for the fair and

  efficient adjudication of the controversy before the Court – particularly in the context of

  wage and hour litigation where individual class members lack the financial resources to

  vigorously pursue claims against corporate defendants.         Class action treatment will

  permit a large number of similarly situated persons to prosecute their common claims in a



                                             - 10 -
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 11 of 16 PAGEID #: 11




  single forum simultaneously, efficiently, and without the unnecessary duplication of

  efforts and expense that numerous individual actions engender. Because the losses,

  injuries, and damages suffered by each of the individual Ohio Class members are small in

  the sense pertinent to a class action analysis, the expenses and burden of individual

  litigation would make it extremely difficult or impossible for the individual class

  members to redress the wrongs done to them individually. Furthermore, important public

  interests will be served by addressing this matter as a class action. The adjudication of

  individual claims would result in a great expenditure of Court and public resources;

  however, treating the claims as a class action would result in significant savings. The

  prosecution of separate actions by individual class members would also create a risk of

  inconsistent and/or varying adjudications with respect to the individual members of the

  Ohio Class, establishing incompatible standards of conduct for Defendant and resulting in

  the impairment of class members’ rights and the disposition of their interests through

  actions to which they were not parties. The issues in this action can be decided by means

  of common, class-wide proof. Finally, the Court can, and is empowered to, fashion

  methods to efficiently manage this action as a class action.

         41.     Upon information and belief, Defendant has violated Ohio state law with

  regard to the payment of full and accurate wages. Current employees are often afraid to

  assert their rights out of fear of direct or indirect retaliation. Former employees are

  fearful of bringing claims because doing so can harm their employment, future

  employment, and future efforts to secure employment. Class action treatment provides

  class members who are not named in the complaint a degree of anonymity which allows

  for the vindication of their rights while eliminating or reducing these risks.



                                              - 11 -
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 12 of 16 PAGEID #: 12




          42.     Common questions of law and fact exist as to all members of the Ohio

  Class and predominate over any questions only affecting any member individually. The

  common questions of law and fact include:

                  (1)      whether Defendant failed to pay Plaintiffs and the members
                           of the Class for so-called meal breaks that Plaintiffs were
                           consistently forced to work through due to the demands of
                           the job;

                  (2)      whether Defendant failed to pay Plaintiffs and the members
                           of the Class full and accurate overtime compensation due to
                           them for all hours worked in excess of forty hours per week
                           at the correct rate at the time the hours in excess of 40 per
                           week were performed;

                  (3)      the correct statutes of limitation for Plaintiffs’ claims and
                           for the claims of the members of the Class;

                  (4)      whether Plaintiffs and the members of the Class are entitled
                           to damages, including, but not limited to, liquidated
                           damages, and the measure of damages; and

                  (5)      whether Defendant is liable for attorneys’ fees and costs.

          43.     Plaintiffs know of no difficulty that will be encountered in the

  management of this litigation that would preclude its maintenance as a class action.


                                FIRST CLAIM FOR RELIEF
                        FAIR LABOR STANDARDS ACT VIOLATIONS
                              FULL AND ACCURATE WAGES
                              (On Behalf Of The Collective Class)


          44.     Plaintiffs, on behalf of themselves and the members of the Collective

  Class, repeat and reallege the allegations contained in Paragraphs 1 through 43 above as

  if they were fully set forth herein.

          45.     At all times relevant to this action, Defendant has been and continues to be

  an employer within the meaning of the FLSA under 29 U.S.C. § 203(d).

                                               - 12 -
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 13 of 16 PAGEID #: 13




            46.   At all times relevant to this action, Defendant employed and/or continues

  to employ Plaintiffs and each of the members of the Collective Class within the meaning

  of the FLSA.

            47.   At all times relevant to this action, Defendant had a uniform policy and

  practice of willfully refusing to pay its employees for every hour worked including but

  not limited to those hours worked in excess of forty hours per week by Plaintiffs and each

  of the members of the Collective Class.

            48.   As a result of Defendant’s willful failure to compensate its employees,

  including Plaintiffs and the members of the Collective Class, the applicable federal

  minimum wage for all hours worked including but not limited to those hours worked in

  excess of forty hours per week at a rate of not less than one and one-half times the regular

  rate of pay, Defendant has violated and continues to violate the FLSA, 29 U.S.C. § 291,

  et seq.

            49.   Defendant’s conduct constitutes a willful violation of the FLSA within the

  meaning of 29 U.S.C. § 255(a).

            50.   Due to Defendant’s willful FLSA violations, Plaintiffs, on behalf of

  themselves and the members of the Collective Class, are entitled to recover from

  Defendant (1) compensation for unpaid wages; (2) an additional equal amount as

  liquidated damages; and (3) reasonable attorneys’ fees and the costs of this action,

  pursuant to 29 U.S.C. § 216(b).




                                             - 13 -
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 14 of 16 PAGEID #: 14




                      SECOND CLAIM FOR RELIEF
          OHIO MINIMUM FAIR WAGE STANARDS ACT VIOLATIONS –
                    MINIMUM AND OVERTIME WAGES
                       (On Behalf Of The Ohio Class)


         51.     Plaintiffs, on behalf of themselves and the members of the Ohio Class,

  repeat and reallege the allegations contained in Paragraphs 1 through 50 above as if they

  were fully set forth herein.

         52.     Defendant failed to pay minimum wages and accurate overtime pay to

  Plaintiffs and the members of the Ohio Class in violation of the Ohio Minimum Fair

  Wage Standards Act, R.C. 4111.01, et seq.

         53.     Defendant’s failure to pay proper wages to Plaintiffs and the members of

  the Ohio Class for each hour worked including but not limited to those hours worked in

  excess of forty hours per week was willful within the meaning of the Ohio Minimum Fair

  Wage Standards Act and in reckless disregard of applicable law.

         54.     As a direct and proximate result of Defendant’s failure to comply with

  state law minimum wage and overtime provisions, Plaintiffs and the members of the Ohio

  Class suffered a loss of wages and interest thereon as well as incurring the costs and

  attorneys’ fees associated with this action.


                                   PRAYER FOR RELIEF


         WHEREFORE, Plaintiffs, individually and on behalf of all other similarly

  situated members of both the Collective and Ohio Class, request this Court grant the

  following relief against Defendant:




                                                 - 14 -
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 15 of 16 PAGEID #: 15




         (1)     Designation of this action as a collective action on behalf of the Collective

  Class, and prompt issuance of notice pursuant to 29 U.S.C. § 216(b), apprising all

  members of the Collective Class of the pendency of this action and permitting them to

  assert timely FLSA claims in this action by filing individual Consents to Join pursuant to

  29 U.S.C. § 216(b);

         (2)     Designation of Plaintiffs, Lynnett Myers, Carol Butler and Arva Lowther,

  as Representatives of the FLSA Collective Class Plaintiffs;

         (3)     Prompt notice, pursuant to 29 U.S.C. § 216(b), to all Collective Class

  members that each has the right to “opt-in” to this litigation;

         (4)     On the First Claim For Relief, an award of unpaid compensation for full

  and accurate overtime compensation to Plaintiffs and the members of the Class;

         (5)     An order declaring Defendant’s FLSA violation were willful;

         (6)     On the Second Claim For Relief, designation of this action as a class

  action pursuant to Rule 23 of the Federal Rules of Civil Procedure on behalf of the Class,

  and prompt issuance of notice pursuant to Fed.R.Civ.P. 23(c)(2), apprising all members

  of the Ohio Class of the pendency of this action and permitting them to assert their state

  law wage and overtime claims in a timely manner, and an award of compensation for

  unpaid wages, minimum wages, and overtime wages to Plaintiffs and the members of the

  Ohio Class;

         (7)     Designation of Plaintiffs, Lynnett Myers, Carol Butler and Arva Lowther,

  as Representatives of the Ohio Class;

         (8)     An injunction prohibiting Marietta from engaging in future wage and hour

  violations;



                                              - 15 -
Case: 2:15-cv-02956-ALM-CMV Doc #: 1 Filed: 10/29/15 Page: 16 of 16 PAGEID #: 16




         (9)     On the First and Second Claims For Relief, an award of liquidated

  damages to Plaintiffs and the members of the Class;

         (10)    On the First and Second Claims For Relief, an award of prejudgment and

  post-judgment interest to Plaintiffs and the members of the Class;

         (11)    On the First and Second Claims For Relief, an award of the costs and

  expenses incurred in bringing this action together with reasonable attorneys’ fees and

  expert fees to Plaintiffs and the members of the Class; and

         (12)    Such other and further legal and equitable relief as this Court deems just

  and proper.

                                                Respectfully submitted,
                                                /s/ Lance Chapin
                                                Lance Chapin                  (0069473)
                                                Marcy J. Stevens              (0091949)
                                                Chapin Legal Group, LLC
                                                580 South High Street, Suite 330
                                                Columbus, Ohio 43215
                                                Telephone:    614.221.9100
                                                Facsimile:    614.221.9272
                                                E-mail: lchapin@chapinlegal.com

                                                Attorneys for Plaintiffs
                                                Lynnett Myers, et al.


                                  JURY TRIAL DEMAND


         Plaintiffs demand trial by jury on all issues.


                                                /s/ Lance Chapin
                                                Lance Chapin                (0069473)
                                                Chapin Legal Group, LLC

                                                Attorney for Plaintiffs
                                                Lynnett Myers, et al.


                                             - 16 -
